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1O27C Margate Ct Sterting Virginia 20164 703-893-1400 / §71-313-9353

 

-veronicamkariuki@gmail.com

Executive Suramary

Experienced IT resource with leadership and practical experience in hardware, infrastructure
communications and software engineering. Independent self-starter with initiative and drive to achieve
results quickly. Excellent communication, sales, service, and client management sk ills, Consistently rated
high for quality customer service Effective working independently oras a team member with colleagues
and clients of diverse backgrounds and experiences. Currently seek ing careeradvancement asa
consultant to hardware infrastructure and software engineering projects as a consultant to the organization.
* Business Seles Management
» Remote services and Ou-aite repair technicion akilk and knowledge
Gaek Squad Supervisor individualized hardware testing, analysis, and repair
Lackheed Martin Software Engineer software devebper, website designing, tester
Talk Tyme Networx: seifmotivator,selfetarter, aucceapful business owner
* Basmna Communicstions- strong sales leading cap abilities, succesafiulre gional sales devebper

Technical Qualifications

UNIX, HP UX, A+, 1C3, C++, C, JAVA, WPM, Photoshop, Flash, Dreamweaver, Technical
Service & Support for both Windows and Macintosh environments (WinXP, Vista, Win7, and Win
8 operating platforms and OSX platforms); Configure iOS and Android operating system devices;
Microsoft Qutlook emai) client; Parallels, VM Ware, and other virtual environments; Manual Virus
Removal Skills, Hardware/Software Repair Skills, Data Migration Skills

Education
* Morgan State University Bachelor af Selance Computer Science, Computer Programming

* University of Maryland University Collage Master of Science IT Management/Business
Management

  

 

Staples, inc. @ "Presane)

Staplesis the leading infornationa! husheess supply sad terhsology organization,

 

Assistant Manager. Responsible for driving business reauits by delighting and engaging a tear to
reach goals of the company and satisfying clientsand customers while building a strongsales force
via technical and wireless services and topdine sales. Responsible for technical repairs and service
to clients both on-siteand in-store locations.

Microsoft Certified Windows 8 Consultant (Staples).

Perform on-site technical repair servicesin client homes and offices as needed and required. Filter
client service calls and deliver sofutions to client issues via phone.

Install and replace computer hardware and software for PCs and Mac computer systems as
required.

Perform data backups and data transfer services Perform quality controlled inventory and
analysis of hardware and software client units.

Develop solid customer techatcal soluttans

Create trouble tickets via OMS system to manage client service issues in a FIFO manner as well as
to update, track, resolve and complete tickets effectively.

Develop and build customer retention.

 

 

 
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Geek Squad/Mest Buy Inc, Reston, Va. CNaverber 2008 > Jug
The Geek Squad isa subsidiary of the Best Buy Campany that offers variaus compulenrelated, services and accessories for
residential and commercial clients. The Geek Squad provides saniicesin-sipre, on-site, and aver the Inemet via ramate access.

Deputy of Counter Intelligence Agent, (Supervisor) Introduced and trained clients on utilization of
various operating systems. Performed individualized hardware testing, analysis and repair as well as
determined root-cause issue. Duties alsa include Installing, updating, and troubleshooting applications and
software packages. Motivate, manage, and promote the daily operations ofa Geek Squad Precinct.
Supervise and motivate a technical team. Responsible fornetworking and internet configurations,
computer and hardware installations, computer repair and diagnostics, andrereote services.

Highlights:

Best Buy is an authoruad Apple Corporas Regallor/Mewlier. Bevelopel a working knowledge afiO8
and OSX operating systems, Install and repair OSX operating systems and hariware for Apple computer
clients. Restore OSX and Windows operating systems to factory requirements. Update software packages
and deploy operating systems as needed.

Maintain, manage and configure Androidoperating systems, {OS operating systems, OSX operating
systems and Windows operating systems for client use.

Required to build a successful department by structurally attaming daily, weekly, and monthly revenue
goals/quotas.

Manage the produeily ity of 11 Technical Sales Aganta via govemed metrics used by company and client
satisfaction metrics. |

Manage client issues to davelop 4 gotnine level of satisfaction & rapport between elent & company.
Educate Technical Sales A gents in service duties required to be predictive while meating expected turn-
times.

Delegate, coach and train direct repartsto perform Dept. of Defense drive wipes to effectively destroy
data and remmants of client information,

Coach and train direct reports to perform memory and hard drive stress testing to detemnine the
effectiveness of RAM modules and hard drives.

Provide iT suppont serviees suck as aasiat cliants with Misrosedt Outlook errors and establishing email clic
nt,

Assess and diagnose elient haniwer and safiwain lacs with other sefowar ingluding QuickBooks and
Quicken.

Effectively Gain and coach direct teperia to acauwmiely pedown band drive repaire on unite with bad
soctors.

Coach and train direct reposts to ageuettely performs date wansiira/eackupe to protect client infarmation
while not transfering iniested fileato new media.

Recover and instalf[OS systems. including Win 7 and Win 8, Vista, XP, O8 X.

Effectiv ely perfonn virus rernovals both manually and via several automated techniques,

Conduct hardware repairs to standards of A+ (CormpTLA) standards to correct device issues including
motherboard replacements and processor inatallations.

Coach and train direct reperta to build complete, operable computer systems for client use.

 

- x ¢ ttee Captain, (December 201 O-Ianyary 2012)
Motivate de enomimgee over 106 anployecs to have a dynamic employee engagement
while working with Best Buy. Direct all employee functions including volunteering
engagements forthe location. Develop and execute affairs forthe employee and act as a
liaison between the employees and the leadership staff. Meet weekly with leadership staff
to discuss new avenues to conquer with employees in addition to issuing employee
concerns anddesires while stit] maintaining a great experience in the workplace. Results-
changed the employes view and moved the tearm 400 basis points to having a great work
environment.

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Bagma Communications, White Marsh, Md. Retail Manager. (November 2006 - March 2007)

Basma Communications is a regional communications company thet provides valce, daia, and interme telecomm unications
services to Individual and business customers.

Verizon Wireless, Bowie, Md. Technical Re Cetober 2004 - November 2006)

Verizon Wireless operates one of the natled 's most ral lable aid largest wiraleas voice and data network. Providing America’s
largest Mobile-to-Mobile calling family of more than &0 million subsert bers, the company offers custamers with a high leval of
satisfaction by offermg a wide variety af quality products and sérvices

 

   

Talk Tyme Networx. Baltimere, Md. neee pager Vatuary 1999- May 200]) Batrapreneur Venture.
Guwned and operated retail wireless cammunieations cam pany.

Lockheed Martin. Greenbelt, Maryland, Safevare Eingis eer (Auguat [996 - Novernber 1997)

Lockheed Martin Comeraton.ts a global company that engages in the research, design, development, manufacturing, integration,
and sustainment of advanced technology systems, products, andservices in ihe US and abroad. The company's pamary business
segments are Aeronautics, Hlectroaic Systems, Information Systems & Global Servicas, and Space Systems.

 

Awardsand CortHieeteus

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1C3 Cartiport Computing Gills
Mortgage/Loan Office
Maryland EDGE Business Center Entrepreneurial Award of Achievement
* Society forthe Advancement of Computer Science Award

NASA High Performance Supercomputing 81 Scholarship

Gladys M. Finney Scholarship

 

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REFERENCES

Janet V. BUIL President, Hill Pamily Adviesva B02-84600111 hillvianst@ael.com

Dr. Louise Johnson, President, MULBA & Powennakers INC Baltimore MD 410-821-7001

Dana Long, President, D. Long & Associates Bowie MD 866-467-9727

Rick Anderson, Distriet/Geveral Manager, Best Buy Reston VA 310-694-7148 dick, anderson2@bestbuy.com
Brandon Dunaway, Operations Manager, Best Buy Reston V4 703-785-2795

Haslyn Parris, Assistant Manager, Verizen Wireless Bowie Maryland 301-254-8417

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